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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

    WARNER RECORDS INC., et al.,

            Plaintiffs,                                  Case No. 19-cv-00874-RBJ-MEH

    v.

    CHARTER COMMUNICATIONS, INC.,

            Defendant.

         CHARTER’S RESPONSE TO PLAINTIFFS’ MOTION FOR CLARIFICATION OF
            RECOMMENDATION ON MOTIONS FOR SPOLIATION SANCTIONS

            Plaintiffs’ motion for clarification (“Mot.”) purports to “clarify certain language

   concerning potential factual findings and the scope of the recommended relief” in the March 4,

   2022 Recommendation (Dkt. 718) regarding the parties’ spoliation motions. Mot. 1. While a

   handful of Plaintiffs’ requests are true clerical revisions amenable to easy correction, other requests

   are not limited to correcting clerical errors. Instead, Plaintiffs ask for substantive reconsideration

   in Plaintiffs’ favor. This attempt to reargue the Recommendation under the guise of “clarification”

   should be rejected.     Plaintiffs should instead be directed to comply with Judge Jackson’s

   established procedure for filing objections to the Magistrate Judge’s Recommendation. See Dkt.

   730.

   I.       PLAINTIFFS’ PROPOSED “CLARIFICATIONS” TO SECTION II.B OF THE
            RECOMMENDATION

            A.     Charter Does Not Oppose Plaintiffs’ Request To Clarify Certain Use Of The
                   Terms “Notices” And “Ticket Data”

            Plaintiffs seek to “clarify” the use of the term “Notices” in Section II.B of the

   Recommendation and posit that “the context suggests that the Court meant to refer to deleted

   ‘tickets’ rather than deleted ‘notices.’”      Mot. 2.     Throughout most of Section II.B, the


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   Recommendation accurately distinguishes between Charter’s ticket data and Plaintiffs’ notices.

   See, e.g., Dkt. 718 at 5 (“When Defendant received an infringement notice, it used a system called

   CATS … to create a ticket”). The Recommendation correctly observes that it is “ticket” or “CATS

   data” that is at issue. Id. (“Defendant does not deny Plaintiffs’ allegation that CATS data from

   2011-April 2014 has been lost.”).1 Notwithstanding the accurate distinction between the two terms

   elsewhere in Section II.B, the Recommendation inadvertently uses the term “infringement

   notices”2 instead of “ticket data” in the heading and in two other sentences, which appear to be the

   result of clerical errors that do not impact the substance of the Recommendation.

            In response to Plaintiffs’ suggestions, Charter proposes amending the language in portions

   of Section II.B as set out in the righthand column in the following chart to clarify the meaning

   without changing the substance or scope of the Recommendation:

                                                               Charter’s Proposed Clarification
                Portion of Recommendation
                                                               (Proposed Revision Underlined)
       “B. Deletion of Infringement Notices”               “B. Deletion of Ticket Data”
       Recommendation at 5.
       “Plaintiffs were sending infringement notices       “Plaintiffs were sending notices to
       to Defendant during this time period that           Defendant during this time period and the
       therefore have been lost. Plaintiffs state that     CATS ticket data was not retained.
       this loss of data means that only 13% of the        Plaintiffs state that this loss of data means
       notices Plaintiffs sent to Defendant have been      that only 13% of the ticket data for
       preserved.” Id. (emphasis added).                   notices Plaintiffs sent to Defendant have
                                                           been preserved.”


   1
      As set out in Charter’s Opposition to Plaintiffs’ Spoliation Motion and the accompanying
   Declaration of Colton Mabb, Charter disputes the date range of lost ticket data that Plaintiffs allege.
   2
      If clarifications are made, Charter respectfully requests that the Recommendation use the term
   “notices” or “copyright notices” (used in Charter’s spoliation briefing, see Dkts. 593, 633) rather
   than “infringement notices” (used in Plaintiffs’ spoliation briefing, see Dkts. 592, 632), as the latter
   terminology suggests Plaintiffs have met their burden of proof on a contested issue (direct
   infringement).


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          B.      Plaintiffs’ Request Regarding The Recommended Remedy Should Be Denied

          Plaintiffs’ request for clarification pertaining to the use of the term “infringement notices”

   should be rejected. Plaintiffs “seek clarification that [the Recommendation’s] statements grant the

   relief Plaintiffs requested.” Mot. 4. But this request for clarification goes beyond the correction

   of a clerical error. The Recommendation expressly acknowledges and rejects both sides’ requested

   relief and only “suggest[s] one specific element of relief for each side that would not involve

   burdening the jury with the legal concept of spoliation.” Dkt. 718 at 3 n.2. Unsatisfied with this

   suggestion, Plaintiffs now ask for a new Recommendation that is more favorable to Plaintiffs. This

   is improper. See, e.g., Green v. El Paso Cty., Colo., 2021 WL 681439, at *4 (D. Colo. Feb. 22,

   2021) (denying motion for clarification to the extent it seeks reconsideration of Order). Moreover,

   to the extent Plaintiffs’ query may be construed as a motion for reconsideration, that likewise

   “should be denied unless it clearly demonstrates manifest error of law or fact or presents newly

   discovered evidence.” Id. at *1. Plaintiffs do not try to, and cannot, meet this standard here.3




   3
      Plaintiffs rely on cases (all over 10 years old) where Magistrate Judge Hegarty accommodated
   requests from litigants to clarify a discrete part of a discovery order. Mot. 1-2 n.1. Those cases
   demonstrate the limited circumstances where clarification may be appropriate. See, e.g.,
   Watershed LLC v. Columbus Life Ins. Co., 2011 WL 3359556, at *1 (D. Colo. Aug. 3, 2011)
   (whether ordered “costs of deposition” included travel and lodging expenses); Chevron Corp. v.
   Stratus Consulting, Inc., 2010 WL 2232371, at *1 (D. Colo. June 1, 2010) (whether order granting
   motion to compel precluded assertion of “‘more narrow privilege objections to specific documents
   and questions’”); BIAX Corp. v. Nvidia Corp., 2010 WL 4879209, at *1 (D. Colo. Nov. 23, 2010)
   (whether order to produce documents was confined to particular date range); Harnisch v. Enserca,
   LLC, 2011 WL 31145, at *1 (D. Colo. Jan. 5, 2011) (whether court “ordered a response to certain
   document requests in the subpoena, not the production of any documents”).


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   II.    PLAINTIFFS’ PROPOSED “CLARIFICATIONS” TO SECTION III OF THE
          RECOMMENDATION

          A.      Charter Does Not Oppose A Subset Of Plaintiffs’ Requests To Clarify The
                  Definitions Of The Data Plaintiffs Have Lost

          Plaintiffs seek to clarify how the Recommendation describes the scope of Plaintiffs’ data

   loss. Similar to the clerical errors discussed above, the context of Section III suggests that a small

   number of clerical errors are present. Charter proposes amending the language in those portions

   of Section III as set out in the righthand column of the following table to clarify the meaning

   without changing the substance or scope of the Recommendation:

               Portion of                            Charter’s Proposed Clarification
           Recommendation                            (Proposed Revision Underlined)
    “Whether through the             This sentence does not require clarification because the context
    vendors’ violation of their      of the relevant paragraph shows the Recommendation is simply
    contracts with Plaintiffs, or    describing Charter’s contentions.
    by knowing participation         To the extent the Magistrate Judge agrees that clarification is
    from Plaintiffs, the paper       necessary, Charter proposes:
    trail for most of the
    700,000+ notices no longer           “Whether through the vendors’ violation of their contracts
    exists.” Recommendation at           with Plaintiffs, or by knowing participation from Plaintiffs,
    7.                                   Defendant contends that the paper trail for most of the
                                         700,000+ notices no longer exists.”
                                     If this correction is made, then an equivalent clarification should
                                     be made to the sections of the Recommendation describing
                                     Plaintiffs’ contentions. E.g., Dkt. 718 at 5. Otherwise, the
                                     correction Plaintiffs are urging will result in an unfair and
                                     inaccurate imbalance.




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             Portion of                              Charter’s Proposed Clarification
          Recommendation                              (Proposed Revision Underlined)
    “The missing information          In response to Plaintiffs’ suggestion, Charter suggests the
    includes (1) audio files of       following correction:
    the actual works in suit ….”          “The missing information includes (1) the Song Files (as
    Id. (emphasis added).                 defined in Defendant’s motion) that Plaintiffs allege
    “That said, I agree                   correspond to the actual works in suit ….”
    Defendant should be               Otherwise, Plaintiffs appear to be trying to substantively limit
    permitted to introduce            the scope of the Recommendation that Charter “be permitted to
    evidence of the missing
                                      introduce evidence of the missing information at trial.” To the
    information at trial ….” Id.      extent Plaintiffs are asking that the Recommendation be altered
    at 8-9 (emphasis added).          to preclude Charter from arguing that the files downloaded as
                                      part of the 2016 Project are not the original Song Files (which
                                      Plaintiffs do not dispute have been lost), their reconsideration
                                      request should be denied as improper.
    “The missing information          In response to Plaintiffs’ suggestion, Charter suggests the
    includes . . . (2) verification   following correction:
    from one vendor to the other          “The missing information includes … (2) “all the complete
    that Plaintiffs’ works were           responses MarkMonitor received from Audible Magic
    illegally downloaded ….”              regarding verification” (as defined in Defendant’s motion)
    Id. (emphasis added).                 ….”
    “That said, I agree
    Defendant should be
    permitted to introduce
    evidence of the missing
    information at trial ….” Id.
    at 8-9 (emphasis added).

          B.      Plaintiffs’ Remaining Requests For “Clarification” Improperly Seek
                  Reconsideration And Should Be Brought To Judge Jackson As Objections

                  1.       MarkMonitor Source Code

          Plaintiffs request that the Recommendation clarify the status of MarkMonitor’s source code

   and find that it is no longer missing. Mot. 6. Specifically, Plaintiffs urge “the Court [to] clarify

   that MarkMonitor has disclosed that this source code has been found,” even though they admit in

   a footnote that “the parties continue to dispute the impact of that disclosure.” Id. In other words,

   Plaintiffs request that the Magistrate Judge affirmatively and prematurely make a finding on a


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   disputed issue in Plaintiffs’ favor. Such a request has no place in a motion to clarify, particularly

   given that the Recommendation expressly states that it is not addressing the source code issue

   because the untimely source code disclosures are the subject of separate motions that have not

   been referred. Dkt. 718 at 1 n.1.4

          Nor is there a proper basis to request reconsideration because the finding requested by

   Plaintiffs is not supported by the record. See, e.g., Green, 2021 WL 681439, at *1-2 (request for

   reconsideration “should be denied unless it clearly demonstrates manifest error of law or fact or

   presents newly discovered evidence”). At the time Charter filed its spoliation motion pursuant to

   Rule 37(e), MarkMonitor had repeatedly stated under oath that the source code was no longer

   available. See, e.g., Dkt. 687 at 4-6. When MarkMonitor changed its story in January 2022 in

   connection with Plaintiffs’ opposition to Charter’s spoliation motion (and claimed to have

   identified a portion of the missing source code), Charter was required to file sanctions motions

   against Plaintiffs and MarkMonitor pursuant to Rule 37(c) to address the significant prejudice

   flowing from this untimely disclosure. See, e.g., Dkts. 729, 731. The Recommendation accurately

   acknowledges that this is the subject of separate motion practice pending before the Court.

   Reconsideration of this accurate statement is not warranted.




   4
      Charter respectfully submits that the Recommendation inadvertently states that the source code
   has “recently been discovered” and “produced to Defendant” (Dkt. 718 at 1 n.1), which is not
   accurate for the reasons set forth in Charter’s reply briefing on the Rule 37(c) sanctions motions.
   See, e.g., Dkts. 729, 731. To the extent any clerical correction is deemed warranted, Charter
   suggests the following: “The same is true regarding missing source code that was discovered by
   Plaintiffs’ litigation consultant in November 2021, and disclosed to Defendant in January 2022.”


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                  2.      Status Of Litigation Holds Sent To Plaintiffs’ Vendors

          Plaintiffs ask that the Recommendation “clarify” the plain words: “Plaintiffs admit this.”

   Mot. 6. Instead of identifying any clerical error or specific context that would suggest that an error

   had been made, Plaintiffs ask for different wording in the Recommendation because Plaintiffs

   perceive the existing wording to be unfavorable. The particular phrase that the Recommendation

   uses to describe an issue that was the subject of the parties’ briefing is not a clerical error that

   should be resolved by a motion for clarification. If Plaintiffs wish to dispute the substance of the

   Recommendation, they can file an objection with Judge Jackson.

                                             CONCLUSION

          WHEREFORE, for the foregoing reasons, Charter respectfully requests that the Court deny

   in part and grant in part Plaintiffs’ Motion to Clarify.


    Dated: March 21, 2022                                     Respectfully submitted,

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